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                                     UNITED STATES DISTRICT COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 9
      UNITED STATES OF AMERICA,
10
                             Plaintiff,
11                                                                 CASE NO. CR06-296C
             v.
12                                                                 ORDER
      DALE ALEXANDER PRENTICE, et al.,
13
                             Defendants.
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            This matter comes before the Court on the joint motion to continue the trial and motions cutoff
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     deadlines filed by the Government, through the United States Attorney for the Western District of
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     Washington, Susan M. Roe, Assistant United States Attorney for said district, and six of the thirteen
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     Defendants in this matter, through counsel, specifically, Dale A. Prentice by and through Richard
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     Troberman, Visa El by and through Kenneth Kanev, Ibrahim El by and through Howard Ratner, Chris
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     Harmon by and through Todd Maybrown, Joseph Taualii by and through Robert Leen, and Hao Tran by
21
     and through Ralph Hurvitz (Dkt. No. 127).
22
            The current motions cutoff deadline is November 2, 2006 and the current trial date is December
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     4, 2006. The moving parties seek a continuance because there is a strong possibility that the matter will
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     resolve short of trial. However, the combination of the schedules of multiple counsel, the recent arrest
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 1   and addition of two defendants, unavailability of counsel and legal holidays has delayed the resolution.

 2   Counsel have been diligent in addressing this matter and the parties believe that with this continuance, this

 3   matter will be handled other than with a trial.

 4          The Court is aware that time limitations for trial and speedy trial concerns are set forth in Title 18,

 5   United States Code, Section 3161. However, the Court finds that a denial of the requested extensions

 6   would unreasonably deny Defendants adequate preparation by their attorneys and would deny counsel

 7   reasonable time to prepare for trial or negotiate plea agreements. Due to these factors, exclusion of

 8   additional time under 18 U.S.C. § 3161(h)(8)(B)(iv) is appropriate, taking into account the exercise of

 9   due diligence.

10          Moreover, Section 3161(h) outlines the periods of excludable time, including:

11                    (8)(A) Any period of delay resulting from a continuance granted by any
                      judge on his own motion or at the request of the defendant or his counsel
12                    or at the request of the attorney for the Government, if the judge granted
                      such continuance on the basis of his findings that the ends of justice served
13                    by taking such action outweigh the best interest of the public and the
                      defendant in a speedy trial. No such period of delay resulting from a
14                    continuance granted by the court in accordance with this paragraph shall be
                      excludable under this subsection unless the court sets forth, in the record of
15                    the case, either orally or in writing, its reasons for finding that the ends of
                      justice served by the granting of such continuance outweigh the best
16                    interests of the public and the defendant in a speedy trial.

17   In this matter, the proposed continuance of the trial does not appear to prejudice any party. The Court

18   finds that failure to grant the requested continuance likely would result in a miscarriage of justice. The

19   Court further finds that the interests of the public and the Defendants in a speedy trial in this case are

20   outweighed by the ends of justice, within the meaning of 18 U.S.C. § 3161(h)(8)(A). This case has few

21   civilians witnesses and no known victims, therefore the rights of victims to a speedy trial are not in effect.

22   Therefore, the trial date is continued from December 4, 2006 until February 5, 2007.

23          Six of thirteen Defendants have joined in the instant motion, but none have filed speedy trial

24   waivers. Accordingly, these defendants are hereby DIRECTED to file speedy trial waivers no later than

25   December 4, 2006 if it is their intention to waive speedy trial rights through the new trial date.

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 1          Because there has been no severance of trial and the six codefendants named supra have

 2   presented sufficient grounds for a continuance according to 18 U.S.C. § 3161(h)(8)(B)(iv), the delay

 3   between the date of this Order and the new trial date is excludable time pursuant to 18 U.S.C. §

 4   3161(h)(7) as to Defendants Tam Phu Quy Nguyen, Jia Ju Zeng, Hai Minh Duong, and Jason Scott

 5   Hunter.

 6          Further, Defendants Michael Daryle Britton, Chi Hao Luong, and Ngoc Quang Dinh have not yet

 7   appeared or entered pleas, and the current trial date is less than thirty days from the date of this Order.

 8   Because these Defendants must waive a trial date that is set to occur less than thirty days from their

 9   appearances or waivers of counsel, see 18 U.S.C. § 3161(c)(2), a continuance is proper as to these

10   Defendants as well.

11          Accordingly, IT IS HEREBY ORDERED that the pre-trial motions cut-off date shall be extended

12   to January 4, 2007, with a new trial date of February 5, 2007. The time between the date of this Order

13   and the new trial date shall be excludable time under the Speedy Trial Act pursuant to 18 U.S.C. §§

14   3161(h)(8)(A) and 3161(h)(8)(B)(iv) as to Defendants Dale Alexander Prentice, Visa El, Ibrahim Abdul

15   El, Joseph Ualifi Taualii, Chris Lee Harmon, and Hao Quang Tran, and, additionally, pursuant to id. §

16   3161(h)(7) as to Defendants Tam Phu Quy Nguyen, Jia Ju Zeng, Hai Minh Duong, and Jason Scott

17   Hunter.

18          SO ORDERED this 29th day of November, 2006.



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21                                                          John C. Coughenour
                                                            United States District Judge
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26   ORDER – 3
